                         Case 5:18-cv-00198-EJD Document 180 Filed 06/15/18 Page 1 of 3


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          13     Panasonic Corporation of North America

          14                                UNITED STATES DISTRICT COURT

          15                              NORTHERN DISTRICT OF CALIFORNIA

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          17     IN RE INDUCTORS ANTITRUST                         Case No. 5:18-cv-00198-EJD
          18
                 LITIGATION
                                                                   DEFENDANT PANASONIC
          19                                                       CORPORATION OF NORTH
                                                                   AMERICA’S AMENDED CORPORATE
          20                                                       DISCLOSURE STATEMENT PURSUANT
                                                                   TO FED. R. CIV. P. 7.1 AND
          21                                                       CERTIFICATE OF INTERESTED
                                                                   ENTITIES OR PERSONS PURSUANT TO
          22                                                       CIVIL L.R. 3-15
          23

          24                                                       U.S. District Judge Edward Davila

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Gibson, Dunn &
Crutcher LLP
                 DEFENDANT PANASONIC CORPORATION OF NORTH AMERICA’S AMENDED CORPORATE DISCLOSURE
                             STATEMENT AND CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
                                              CASE NO. 5:18-CV-00198-EJD
                          Case 5:18-cv-00198-EJD Document 180 Filed 06/15/18 Page 2 of 3


            1           Defendant Panasonic Corporation of North America (“PNA”) hereby files its Amended
            2    Corporate Disclosure Statement pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and
            3    Certification of Interested Entities or Persons pursuant to Civil Local Rule 3-15.
            4           Pursuant to Federal Rule of Civil Procedure 7.1(a), PNA states that: (i) Panasonic Holding
            5    (Netherlands) B.V. is the parent corporation of PNA; and (ii) Panasonic Holding (Netherlands) B.V.
            6    is a privately-owned corporation that owns more than 10% of PNA’s stock.
            7           Pursuant to Civil Local Rule 3-15, the undersigned certifies that as of this date, other than the
            8    named parties, there is no such interest to report.
            9
          10     DATED: June 15, 2018                           GIBSON, DUNN & CRUTCHER LLP
          11
                                                                By:        /s/ Daniel G. Swanson
          12                                                               Daniel G. Swanson
          13                                                    Attorneys for Defendants Panasonic Corporation;
                                                                Panasonic Corporation of North America
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Gibson, Dunn &
Crutcher LLP
                 DEFENDANT PANASONIC CORPORATION OF NORTH AMERICA’S AMENDED CORPORATE DISCLOSURE
                             STATEMENT AND CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
                                              CASE NO. 5:18-CV-00198-EJD
                          Case 5:18-cv-00198-EJD Document 180 Filed 06/15/18 Page 3 of 3


            1                                       CERTIFICATE OF SERVICE
            2          I hereby certify that on June 15, 2018, I electronically filed with the Clerk of Court via the
            3    CM/ECF system the following document:
            4           DEFENDANT PANASONIC CORPORATION OF NORTH AMERICA’S AMENDED
            5    CORPORATE DISCLOSURE STATEMENT PURSUANT TO FED. R. CIV. P. 7.1 AND
            6    CERTIFICATE OF INTERESTED ENTITIES OR PERSONS PURSUANT TO CIVIL L.R. 3-
            7    15.
            8           Notice of this filing will be sent by email to all parties with an email address of record by
            9    operation of the Court’s electronic filing system. Parties may access the filing through the Court’s
          10     CM/ECF system.
          11     Dated: June 15, 2018                          GIBSON, DUNN & CRUTCHER LLP
          12
                                                               By:          /s/ Daniel G. Swanson
          13                                                                   Daniel G. Swanson
          14                                                   Attorneys for Defendants Panasonic Corporation;
                                                               Panasonic Corporation of North America
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Gibson, Dunn &
Crutcher LLP
                 DEFENDANT PANASONIC CORPORATION OF NORTH AMERICA’S AMENDED CORPORATE DISCLOSURE
                             STATEMENT AND CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
                                              CASE NO. 5:18-CV-00198-EJD
